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                                                                  Monday, 15 January, 2018 02:37:27 PM
                                                                          Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
vs.                                        )
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
       Defendant.                          )        17-CR-20037

                          MOTION TO DISMISS COUNT ONE

       On October 15, 2017, the grand jury returned a three count Indictment, charging

the defendant, Brent Christensen, in Count One with the offense of kidnapping

resulting in death in violation of 18 U.S.C. § 1201(a)(1) and false statements to the FBI in

violation of 18 U.S.C. § 1001(a)(2) in Counts Two and Three. R. 26.

       Through undersigned counsel, the defendant moves the Court for an Order

dismissing Count One of the Superseding Indictment on the grounds that: (1) the

evidence will not demonstrate a violation of the substantive provisions of 18 U.S.C. §

1201(a); (2) the jurisdictional requirements of 18 U.S.C. § 1201(a)(1) are not satisfied in

this case; and (3) the expansive interpretation of the phrase “means, facility, and

instrumentality of interstate commerce,” as envisioned in the Superseding Indictment,

violates the Commerce Clause of the Constitution. See U.S. CONSTIT. art 1, § 8, cl. 3.

I.     SUMMARY OF ARGUMENT

       As to the substantive offense charged in Count One, the offense of kidnapping as

defined in 18 U.S.C. § 1201(a), requires that the victim be forced or confined against her


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will or seized pursuant to a false representation of some kind. Here, there is no evidence

that the alleged victim, Yingying Zhang, was coerced or forced into Mr. Christensen’s

car. Nor is there sufficient non-speculative evidence that she was tricked in any way to

get into the car.

             Regardless of whether the substantive elements of the crime of kidnapping

defined in § 1202(a) are satisfied, before a federal court can assume jurisdiction, one of

the five jurisdictional predicates defined in subsections § 1201(a)(1)-(5) must be met. The

jurisdictional hooks described in (a)(2) through (a)(5) are plainly inapplicable. Thus, the

government must establish one of the three alternative conditions for federal

jurisdiction described in subsection (a)(1). Here, there is no evidence, and the

Superseding Indictment does not allege, that the alleged victim was transported in

interstate or foreign commerce or that Mr. Christensen traveled in interstate commerce

in committing the offense. The government is then left with having to establish

jurisdiction under the third option set out in subsection (a)(1), namely that Mr.

Christensen committed the offense by “us[ing] the mail or any means, facility, or

instrumentality of interstate or foreign commerce.”1 The Superseding Indictment,

attempts to establish jurisdiction under this provision by alleging that Mr. Christensen

used two such means of interstate commerce in committing the offense, a cellular




																																																								
1
 To avoid unnecessary redundancy, the terms “instrumentality of interstate commerce” and
“instrumentality” are used, at times, herein in lieu of the phrase “means, facility and instrumentality of
interstate commerce,” as found in § 1201(a)(1) and the Superseding Indictment.



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telephone and a car. The means by which he used these alleged means of interstate

commerce are not specified out in the Superseding Indictment.2

             As to the first alleged “instrumentality,” there is no evidence that Mr.

Christensen used a telephone in committing the charged offense – for instance he did

not lure the alleged victim in any way by means of a telephone, nor did he seek to

obtain a ransom or reward by use of a telephone or direct anyone else in the

commission of this offense by means of a telephone.

             As for the second charged “instrumentality,” neither the legislative history of §

1201, case law interpreting the statute, the Amendments in 2006 adding the “means,

facility or instrumentality of interstate commerce” language as an alternative

jurisdictional basis under subsection (a)(1), canons of statutory construction, nor the

constitutional limitations on the federal government’s usurpation of the State’s Police

Powers suggest that Congress intended that the use of a car in an intrastate kidnapping

is sufficient to establish federal jurisdiction under § 1201(a)(1).

             The Congressional intent argument is dispositive of this latter issue and thus the

Court need not reach the underlying constitutional claim. But, the non-economic nature

of an intrastate kidnapping where no ransom, reward or other financial consideration is

involved does not have the requisite substantial effect on interstate commerce, either in

isolation or the aggregate, to justify Congress’s exercise of its commerce power. And,

because this is a violent crime long regarded within our constitutional scheme as within


																																																								
2
 Counsel has filed a Motion for a Bill of Particulars on this date, seeking a specification as to how Mr.
Christensen allegedly used his cellphone to commit this offense.


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the Police Power of the State to regulate in the absence of a sufficient interstate nexus,

application of § 1201(a)(1) to the facts of this case would violate the Commerce Clause.

II.    BACKGROUND

       On June 9, 20117, Yingying Zhang, a visiting scholar at the University of Illinois,

had an appointment to meet with the manager of an apartment complex in Urbana,

Illinois for the purpose of signing a lease. Ms. Zhang left her office at the University of

Illinois in Champaign around 12:30 pm that day, telling her colleagues that she was

going to sign a lease on a new apartment. The circumstances suggest that Ms. Zhang

intended to take a bus to the appointment, which required a transfer. At approximately

1:30 pm, Ms. Zhang sent a text message to the apartment manager, estimating her time

of arrival as 2:10 pm. A few minutes later a surveillance tape of the Champaign-Urbana

Metropolitan Transfer District depicts a person presumed to be Ms. Zhang boarding the

first bus, from which she exits at approximately 1:52 pm near the vicinity of W.

Springfield Ave. and Matthews Street. Thereafter, Ms. Zhang is seen unsuccessfully

attempting to flag down another bus that was just pulling off.

       Shortly after two o’clock a Saturn Astra, driven by Brendt Christensen, pulled up

next to Ms. Zhang. Ms. Zhang is then seen leaning into the window of the car and

speaking with the driver. Within a minute or so Ms. Zhang enters the vehicle, which

then departs the area. To counsel’s knowledge no witness observed anything that

suggested Ms. Zhang was forced into the Saturn Astra or entered the Saturn Astra other

than voluntarily. To counsel’s knowledge no witness overheard any of the conversation

between Ms. Zhang and Mr. Christensen prior to her entering the vehicle.


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             Ms. Zhang did not keep her appointment at the apartment complex. The

government contends that Ms. Zhang has never been seen again.

III.         THE EVIDENCE IS INSUFFICIENT TO SHOW A SUBSTANTIVE
             VIOLATION OF § 1201(a)

The substantive offense defined in 18 U.S.C. § 1201(a) provides:

                           (a) Whoever unlawfully seizes, confines, inveigles, decoys,
                           kidnaps, abducts, or carries away and holds for ransom or
                           reward or otherwise any person, except in the case of a
                           minor by the parent thereof, when-3

             The evidence does not suggest that Mr. Christensen forcibly seized, abducted or

carried away Ms. Zhang without her consent. This leaves the government with having

to show that Mr. Christensen enticed Ms. Zhang into his car through false pretense – in

the terms of the statute, that he “decoyed” or “inveigled” her to get into the car. As

stated, counsel is unaware of any evidence of the conversation that took place between

Ms. Zhang and Mr. Christensen or that he lured her into his car through false

representations.

             Documents received in discovery suggest that the government may proffer an

“inveiglement” theory through the testimony of a University of Illinois student who

reported that a white male approached her on the morning of June 9 in the University

area and attempted to get her to enter his car under suspicious circumstances and the

testimony of a ten-time convicted felon, facing a sentence of life imprisonment, who

claims Mr. Christensen used a similar pretext to lure Ms. Zhang into his car. See Motion



																																																								
3
    The five alternative jurisdictional bases then follow in subsections (a)(1)-(5). Infra.


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to Suppress Identification and Motion to Suppress Statements Allegedly Made to Cellhouse

Informant, both filed on January 15, 2018. Regardless, the evidence suggests that the

government will be unable to offer admissible and credible evidence sufficient to carry

its burden to prove a violation of § 1202(a) beyond a reasonable doubt.

IV.    THE FEDERAL GOVERNMENT DOES NOT HAVE JURISDICTION OF
       THIS OFFENSE UNDER § 1201(a)(1)

       In order to establish jurisdiction over the kidnapping offense defined in §1201(a),

the government must establish one of the five grounds specified in subsections (a)(1)

through (a)(5).

              (1) the person is willfully transported in interstate or foreign
              commerce, regardless of whether the person was alive when
              transported across a State boundary, or the offender travels
              in interstate or foreign commerce or uses the mail or any
              means, facility, or instrumentality of interstate or foreign
              commerce in committing or in furtherance of the
              commission of the offense;

              (2) any such act against the person is done within the special
              maritime and territorial jurisdiction of the United States;

              (3) any such act against the person is done within the special
              aircraft jurisdiction of the United States as defined in section
              46501 of title 49;

              (4) the person is a foreign official, an internationally
              protected person, or an official guest as those terms are
              defined in section 1116(b) of this title; or

              (5) the person is among those officers and employees
              described in section 1114 of this title and any such act
              against the person is done while the person is engaged in, or
              on account of, the performance of official duties,
              shall be punished by imprisonment for any term of years or
              for life and, if the death of any person results, shall be
              punished by death or life imprisonment.


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       As stated in the Introduction, the Superseding Indictment places jurisdiction in

“instrumentality of interstate commerce” language of § (a)(1), namely that Mr.

Christensen used a telephone and a car in commission of the substantive offense. This

theory is misplaced. First, counsel is unaware of any evidence that Mr. Christensen

used a telephone to commit this offense, see IV-C, infra. Second, the evidence strongly

suggests that, in amending § 1201(a)(1) in 2006, Congress did not intend that

jurisdiction could be established by the mere use of a car in an intrastate kidnapping.

This is the core of the argument Mr. Christensen presents in IV-D(1)-(8) below. The rule

of constitutional avoidance does not require the Court to reach the underlying

constitutional issue if the Court agrees with this argument. But, if Congress did intend

that the use of a car in an intrastate kidnapping alone establishes federal jurisdiction,

such an expansive and unprecedented jurisdictional grab over otherwise intrastate

activity would violate the Commerce Clause and unacceptably erode the principles of

federalism underlying our constitutional compact between the State and National

Governments. See V, infra.

       A.     Legislative History of § 1201(a)

       In the wake of the kidnapping of the child of Charles Lindberg in 1932, Congress

passed the Federal Kidnapping Act (Kidnapping Act), now codified at § 1201.

Concerned with potential issues arising from the over-federalization of federal criminal

law and the usurpation of activities long held to be the domain of the states, Congress

specifically limited the jurisdiction over kidnappings to the transportation of victims in

interstate or foreign commerce. Act of June 22, 1932, ch. 271, 47 Stat. 326 (1932). See


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Robert C. Finley, The Lindberg Law, 28 Geo. L. R. 908-912 (1940) (reviewing legislative

history of 1932 Act and 1934 Amendment). The Kidnapping Act, also known by its

popular name, the “Lindberg Law,” was specifically enacted for the purpose of

allowing the FBI to investigate and the federal government to prosecute kidnappings

where criminals transport their victims from one state to another to frustrate

investigation by state law enforcement authorities whose jurisdiction often ends at the

state line. Chatwin v. United States, 326 U.S. 455, 462-63 (1946). The 1932 Act thus focused

on the interstate transportation of the victim and also required that there be a ransom or

reward demand. While assorted amendments were made to the statute over the years,4

other than a 1972 amendment that expanded jurisdiction to include kidnappings within

the special territorial, maritime and aircraft jurisdiction of the United States and the

kidnapping of foreign officials, see Pub.L. 92-539 (1972), the interstate jurisdictional

nexus of the statute remained unchanged until the Amendment of 2006. Infra.

             It is important to note that in upholding the Kidnapping Act’s expansion of

federal jurisdiction as a legitimate exercise of Congress’ powers under the Commerce

Clause, courts consistently emphasized that such jurisdiction was conditioned on a

showing that the victim was moved across state lines. See United States v. Moore, 571

F.2d 76, 81 (2d Cir. 1978) (reversal where evidence insufficient to establish what the

court characterizes as the “operative condition” of a § 1201 offense, the interstate


																																																								
4
 Among other changes, later amendments removed the requirement of a ransom or reward demand by
adding the “or otherwise” language, made the Kidnapping Act inapplicable to parental kidnappings
and added the death penalty as a possible punishment.



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transportation of victim); United States v. Davis, 19 F.3d 166, 169 (5th Cir. 1994)

(transportation of victim in interstate commerce a required element of kidnapping);

United States v. Singh, 483 F.3d, 493 (7th Cir. 2007)(same), citing United States v. Green,

680 F.2d 520 (7th Cir. 1982); United States v. Larsen, 596 F.2d 759, 767 (8th Cir. 1979)

(government must prove victim taken across state lines); United States v. Broadwell, 870

F.2d 594, 601, n. 16 (11th Cir. 1989) (crime of kidnapping complete once victim

transported across state lines);

       Thus, from the very beginning, both the direct language of the Kidnapping Act

and cases interpreting the statute stressed that the movement of the victim across state

lines was a prerequisite to the federal government assuming jurisdiction over what

would otherwise be a crime solely within the jurisdiction of the States.

       B.     The 2006 Amendment to § 1201(a)(1)

       In 2006, Congress amended § 1201 by striking the language requiring that a

person must be alive when the interstate transportation began and adding the second

and third jurisdictional bases now codified as § 1201(a)(1), namely if “the offender

travels in interstate or foreign commerce or uses the mail or any means, facility, or

instrumentality of interstate or foreign commerce in committing or in furtherance of the

commission of the offense.” See Pub.L. 109-248, § 213, July 27, 2006; 120 Stat. 587 (2006).

This amendment of § 1201(a)(1) was the result of a single sentence inserted into a lengthy

bill entitled the Adam Walsh Child Protection and Safety Act of 2006, otherwise known




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as the Sex Offender and Notification Act (SORNA),5 the Preamble of which stated its

purpose as “An Act To protect children from sexual exploitation and violent crime, to

prevent child abuse and child pornography, to promote internet safety, and to honor

the memory of Adam Walsh and other child crime victims.” Pub.L. 109-248, Preamble.

             Thus, § 213 of the Adam Walsh Act, codified as an Amendment to § 1201(a)(1),

consisted of a single sentence in a comprehensive and detailed bill that was directed at

protecting children against predators and otherwise had nothing to say about

kidnapping in general. The legislative history unequivocally demonstrates that § 213

was designed to target the use of the internet by child predators to contact and entice

children. There is nothing in the Act to suggest that Congress was concerned with a

general expansion of kidnapping jurisdiction under § 1201(a)(1) or that it intended to

alter the long-standing and fundamental principle that federal jurisdiction under

§1201(a)(1) is premised on the interstate element of the crime. See infra. This reading of

the purpose of the Adam Walsh Act is further corroborated by the signing statement


																																																								
5
 The Adam Walsh Act (SORNA) consists of 49 single-spaced pages as it appears in Westlaw. It
is broken into seven titles, respectively: Title I: Sex Offender Registration and Notification Act;
Title II: Federal Criminal Law Enhancements Needed to Protect Children from Sexual Attacks
and Other Violent Crimes; Title III: Civil Commitment of Dangerous Sex Offenders; Title IV:
Immigration Law Reforms to Prevent Sex Offenders from Abusing Children; Title V: Child
Pornography Prevention; Title VI: Grants, Studies, and Programs for Children and Community
Safety; and Title VII: Internet Safety Act. Significantly, § 213 of the Act, subsequently codified as
an amendment to § 1201(a)(1) of Title 18, is located in Title II. Most of its provisions were
enacted as the Sex Offender and Notification Act and codified at 42 U.S.C. § 42 U.S.C. § 16901, et
seq. While these headings are not controlling, “they supply cues that Congress did not intend”
the statutory language “to sweep within its reach” matters unrelated to the purpose of the
legislation. Yates v. United States, 135 S.Ct. 1077, 1083 (2015); see also Almendarez-Torres v. United
States, 523 U.S. 224, 234 (1998) (title of statute and section headings are tools for interpreting
reach of statute).



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wherein President Bush described the four purposes of the bill, each related to crimes

against children: expanding the National Sex Offender Registry; increasing federal

crimes against children; making it harder for sexual predators to reach children through

the internet and creating a National Child Abuse Registry. See Presidential Signing

Statement, President Signs H.R. 4472, the Adam Walsh Child Protection and Safety Act of

2006, 2006 WL 2076691 (White House).

       C.     There is No Evidence that Mr. Christensen Used a Telephone In
              Violation of § 1201

       The Superseding Indictment does not specify the means by which Mr.

Christensen supposedly used a telephone to commit a § 1201(a) violation. See

Defendant’s Motion for Bill of Particulars, filed this date. To counsel’s knowledge there is

no evidence suggesting that he contacted Ms. Zhang in any way whether by way of a

telephone call or use of the internet on his phone. Nor is there any evidence that Mr.

Christensen used his phone to demand a reward or ransom or otherwise for the specific

purpose of furthering commission of the charged substantive § 1201(a) offense. Compare

United States v. Morgan, 748 F.3d 1024 (10th Cir. 2014) (co-conspirators communicate by

cellphone during execution of kidnapping and thus jurisdiction afforded under §

12019(a)(1)); United v. Dais, 559 Fed.Appx. 438 (6th Cir. 2014) (forcing victim to use his

cellphone to call mother and communicate ransom request.).




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       D.     Congress Did Not Intend that the Intrastate Use of a Car Establishes
              Jurisdiction Under § 1201

              (1) In Enacting the Adam Walsh Act Congress Was Concerned Only with
              the Problem of Exploitation of Children, Which is Often Accompanied by
              the Use of the Internet, Telephone, Mail and Other Means of
              Communication and Not With Kidnapping in General

       This Court need not reach the constitutional issues presented by Count One’s

jurisdictional premise that the use of a car in an otherwise intrastate kidnapping

qualifies as a “means, facility and instrumentality of interstate commerce” within the

meaning of the amended § 1201(a)(1), as the evidence overwhelmingly suggests that

Congress did not intend such a radical change to kidnapping jurisdiction when it

inserted this language into § 213 of the Adam Walsh Act.

       As noted above, the 2006 Amendment to § 1201(a)(1) was an isolated sentence in

a lengthy bill whose clear purpose was countering the exploitation of children. A search

of the bill reveals that the terms “car” or “automobile” are used nowhere in the bill. The

term “motor vehicle” appears once – in Section 130, relating to limitations on liability

for directors, officers and employees of the National Center for Missing and Exploited

Children. The term “vehicle,” standing alone, appears only once - in Section 210,

requiring that those who must register under the SORNA provisions of the bill must

submit to searches of their homes and vehicles by any law enforcement or probation

officers who have reasonable suspicion that a condition of probation has been violated.

Similarly, the bill does not contain the terms “truck,” “airplane” or any other reference

to modes of interstate transportation. See PL 109-248, supra.




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       In contrast, the term “internet” appears throughout the bill. The language of the

Act itself suggests that the phrase was intended to cover use of the internet, telephone

and mail, as other than the language in § 213, the only other reference to

“instrumentality of interstate and foreign commerce” appears in in § 510(C), where

Congress expressly finds that “[T]he interstate market in child pornography is carried

on to a substantial extent through the mails and other instrumentalities of interstate and

foreign commerce.” This reading is confirmed by the Signing Statement of President

Bush, cited above, wherein the President notes that one of the main purposes of the Act

was to prevent sexual predators from reaching children via the internet. Cf. United States

v. Lopez, 514 U.S. 549, 562-63 (1995) (lack of legislative findings of Congressional intent

noted as the Court attempts to discern supposed effect of activity on interstate

commerce).

       Review of the legislative history, sparse though it is, leads to the same

conclusion. The bill does not appear have been accompanied by any detailed House or

Senate Report explaining its provisions. But, a review of the 38 legislative history

documents related to the Adam Walsh bill on Westlaw indicates that while Congress

was concerned with the kidnapping of children, there is no suggestion that it intended

to expand the jurisdictional basis for kidnappings other than to include language that

would expand liability under § 1201(a)(1) when the internet and other electronic means

of communications are used to target children. That this is crystal clear is demonstrated

by a search of each of these 38 documents in the legislative history for the term

“instrument! of interstate commerce,” which uncovers only three references, each of


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which is simply found in a reprinting of the bill itself in the legislative history

document. Stated more clearly, there is not a single reference in the legislative history of the

Adam Walsh Act, whether by way of a legislative report, sponsor of the Act or member

of Congress indicating that other than expanding its reach to the use of the internet or

other cyber tools, Congress intended to substantively expand the jurisdictional reach of

the Federal Kidnapping Act,6 that has been recognized since its passage in 1932 and

consistently interpreted by courts over the intervening years. Nowhere is the term

“instrumentality of interstate commerce” defined and there is no suggestion

whatsoever the Congress intended to alter long-standing doctrine by including the use

of a car or vehicle in an intrastate kidnapping within this phrase. From even the most

cursory review of the Adam Walsh Act, it is manifestly clear that Congress was not

concerned with interstate travel as such but with the use of the internet in connection

with the exploitation of children. Cf. Bond v. United States, 134 S.Ct. 2077 (2014) (holding

statute inapplicable because defendant’s conduct not within “core concerns” of the

statute).

             The importance of interpreting language in statutes in light of the concerns and

purpose expressed by Congress is illustrated by Yates v. United States, __U.S. __, 135

S.Ct. 1074 (2015). Yates was prosecuted under § 1519 of Title 18 for catching undersized


																																																								
6
 As indicated below, amending § 1201(a)(1) to expand jurisdiction to offenders who travel in
interstate commerce is consistent with the customary understanding of the interstate character
of the offense and was added in recognition of the fact that child predators often cross state
lines to prey on children. Further, the addition of this language to § 1201(a)(1) language would
be unnecessary if the term “instrumentality of interstate commerce” is interpreted in the
manner suggested by the Superseding Indictment. See IV-D(3), infra.


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fish in federal waters and ordering a crew member to toss the suspect catch into the sea.

Section 1519 was enacted as part of the Sarbanes-Oxley Act of 2002, which was

designed to protect investors and restore trust in financial markets and prohibits, inter

alia, the altering or destroying of “tangible objects” with intent to impede a lawful

investigation. The question presented was whether fish are included within the term

“tangible object” within meaning of § 1519. Although a fish is unquestionably a

“tangible object,” the Court held that a fish is not included within the term as used in

the statute for “it would cut § 1519 loose from its financial-fraud mooring to hold that it

encompasses any and all objects . . . destroyed with obstructive intent. Mindful that in

Sarbanes-Oxley, Congress trained its attention on corporate and accounting deception

and cover-ups, we conclude that a matching construction of 1519 is in order.” Id. at

1079.

              (2)      There is No Evidence that Congress Intended to Abrogate Existing
                       Law in the Manner Suggested by Count One.

        Congress was obviously aware of the long-settled requirement that the victim of

a kidnapping under § 1201 be transported in interstate commerce. See Lorillard v. Pons,

434 U.S. 575, 580-81(1978) (In enacting legislation Congress is presumed to have

knowledge of prior judicial constructions of statute); I.N.S. v. Phinpathya, 464 U.S. 183,

200 (1984) (Congress presumed to have knowledge of prior judicial interpretations of

law it is amending).

        The language in the 2006 Amendment adding jurisdiction when the offender

himself moves in interstate commerce to commit the offense was a modest addition to



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the historical jurisdictional basis for § 1201(a) prosecutions, and fully consistent with the

thrust of the statute concerning movement across state lines. But, interpreting the

phrase “means, facilities or instrument of interstate commerce” in the amended

§1201(a)(1) to include cars or other vehicles goes well beyond pre-existing law that

required that the victim be moved across state lines and would work a wholesale

change in settled doctrine. “A party contending that legislative action changed settled

law has the burden of showing that the legislature intended such a change.” Green v.

Bock Laundry Machine Co., 490 U.S. 504, 521 (1989); Finely v. United States, 490 U.S. 545,

554 (1989) (“Under established canon of statutory construction, ‘it will not be inferred

that Congress, in revising and consolidating the laws, intended to change their effect

unless such intention is clearly expressed,’”), citing Anderson v. Pacific Coast S.S. Co., 225

U.S. 187, 199 (1912). That inference is particularly strong where a statute purports to

intrude upon jurisdiction traditionally reserved to the States. Bond v. United States, 134

U.S. at 2093-94 (“Absent a clear statement of that purpose, we will not presume

Congress to have authorized such a stark intrusion into traditional state authority.”).

       As shown in the preceding section, the structure, purpose and language of the

Adam Walsh Act shows that this burden cannot be carried here, especially where not a

word of the Act itself suggests a Congressional intent to radically reformulate the

Federal Kidnapping Act in the manner suggested in Count One. See Chisom v. Roemer,

501 U.S. 380, 394-96 (1991) (Congress’s intent in amending § 2 of the Voter Rights Act in

1982 to exclude voter dilution claims previously protected from the Act not established

because “if Congress had such an intent, Congress would have made it explicit in the


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statute, or at least some of the Members would have identified or mentioned it at some

point in the unusually extensive legislative history of the 1982 amendments.”); Harrison

v. PPG Industries, Inc., 446 U.S. 578, 602 (1980) (Rehnquist, J. dissenting) (“In a case

where the construction of legislative language such as this makes so sweeping and so

relatively unorthodox a change as that made here, I think judges as well as detectives

may take into consideration the fact that a watchdog did not bark in the night.”).

       Similarly, with issues of federalism and the appropriate roles of the state and

federal government being matters of both public and juridical interest and discussion, it

is difficult to imagine that a watchdog in Congress would not have at least barked a

little if anyone understood the insertion of this one phrase into § 1201(a)(1) would have

liquidated existing kidnapping law in one fell swoop and as a practical matter opened

the federal jurisdictional floodgates not only to all kidnappings, but as discussed below,

see IV-D(5), lay the groundwork for a blanket assumption of federal jurisdiction over a

host of crimes long assumed to be exclusively the province of state regulation. See Bond

v. United States, 134 S.Ct. at 2090-91 (rejecting “boundless reading” of statute’s coverage

that would override previous interpretations of federal jurisdiction); Yates v. United

States, 135 S.Ct. at 1083 (“If Congress indeed meant to make [statute] an all-

encompassing ban . . . one would have expected a clearer indication of that intent.”).

              (3)    Reading the phrase “means, facility, or instrumentality of interstate
                     commerce” in §120(a)(1) to include the use of a vehicle in an
                     intrastate kidnapping would not only make the other language of
                     the statute superfluous but also language in the 2006 Amendment
                     itself




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       One of the “most basic interpretive canons,” Corley v. United States, 556 U.S. 303,

314 (2009), is that a statute must be construed “so that no part will be inoperative or

superfluous, void or insignificant,” quoting Hibbs v. Winn, 542 U.S. 88, 101 (2004)

(internal citation omitted); Kungys v. United States, 485 U.S. 759, 778 (1988) (“cardinal

rule of statutory construction that no provision should be construed to be entirely

redundant.”).

       As kidnapping almost uniformly involves the eventual use of a vehicle of some

sort, if Congress intended the draconian expansion of federal jurisdiction in the manner

suggested by the Superseding Indictment, it would have stricken the long-standing

requirement in the statute that the victim be “transported in interstate or foreign

commerce,” as that language would no longer be necessary. All the language after the

first two words of the statute and prior to “uses the mail . . .” would then be excised as

surplusage and § 1201(a)(1) would simply read: when-----(1) the person uses the mail or

any means, facility, or instrumentality of interstate or foreign commerce in committing

or in furtherance of the commission of the offense.

       Indeed, if Congress intended the term “instrument of interstate commerce” as

used in the 2006 Amendment to include a car or other vehicle, there would also have

been no need to add the new language about the offender himself traveling in interstate

commerce, for, practically speaking, how else is a person going to travel across state

lines except by means of the “instrumentality of interstate commerce” found in the very

next phrase? Thus, under the interpretation of the term suggested by the government,

the 2006 Amendment not only makes the other jurisdictional language in (a)(1)


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superfluous, but the Amendment itself would contain surplusage. See Yates v. United

States, 135 S.Ct. at 1085 (“We resist a reading of 1519 that would render superfluous an

entire provision passed in proximity as part of the same Act,” citing Marx v. General

Revenue Corp., 568 U.S. 371, 386 (2013) (“The canon against surplusage is strongest when

an interpretation would render superfluous another part of the same statutory

scheme.”).

              (4)    Statutory Interpretation of the phrase “means, facility or
                     instrumentality of interstate commerce” to include the use of a
                     vehicle to commit an intrastate kidnapping disregards important
                     principles of federalism

       “Federal statutes impinging upon important state interests “cannot . . . be

construed without regard to the implications of our dual system of government . . .”

BFP v. Resolution Trust Corp., 511 U.S. 531, 544 (1994); Gregory v. Ashcroft, 501 U.S. 452,

460-464 (1991) (to avoid constraints that a contrary interpretation would place on state-

federal relations, Court holds that Age Discrimination in Employment Act is

inapplicable to a provision of Missouri Constitution requiring judges to retire at age 70);

Bond v. United States, 134 S.Ct. at 2088 (“[Th]e problem with this interpretation is that it

would ‘dramatically intrude [ ] upon traditional state criminal jurisdictions,’ [citation

omitted]). These sensitive concerns require that federal courts be “certain of Congress’

intent” before finding that a federal law overrides the usual constitutional balance

between the federal and state powers. Id. at 2089.

       The allegations here suggest that this is a classic example of an intrastate violent

crime normally prosecuted by States. Under our federal constitutional scheme, States



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have “primary authority for defining and enforcing criminal law.” Brecht v. Abrahamson,

507 U.S. 619, 635 (1993) (internal citation omitted). “The wisdom of assigning the States

the “core police power . . . includ[ing] authority to define criminal law and to protect

the health, safety, and welfare of their citizens,” Gonzales v. Raich, 545 U.S. 1, 42-43 (J.

O’Connor, dissenting), is that it permits the States to “perform their role as laboratories

for experimentation to devise various solutions” to difficult issues of policy regarding

the punishment of crime. United States v. Lopez, 514 U.S. at 581-83 (J. Kennedy,

concurring). These principles apply with particular force to violent crimes. United States

v. Morrison, 529 U.S. 598, 618 (2000) (“Indeed, we can think of no better example of the

police power, which the Founders denied the National Government and reposed in the

States, than the suppression of violent crime and vindication of its victims.”).

       Thus, when Congress creates federal jurisdiction over criminal conduct

historically within the Police Power of the States, it intrudes on the “sensitive balance”

of power allocated between the two sovereign governments. Lopez, 514 U.S. at 561, n. 3

(1995). And where, as here, legislation is premised on Congress’ authority under the

Commerce Clause, “the scope of the interstate commerce power ‘must be considered in

light of our dual system of government and may not be extended so as to embrace

effects upon interstate commerce so indirect and remote that to embrace them . . .

would effectively obliterate the distinction between what is national and what is local

and create a completely centralized government.’” Id., at 556-57, quoting Jones v. Laughlin

Steel (cite omitted).

       These principles take on additional force when the federal government attempts


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to enlarge its jurisdiction to seek the death penalty for a crime traditionally within State

jurisdiction (i.e. an intrastate kidnapping resulting in death) in a State which has

discarded capital punishment as a matter of public policy. After public hearings and

prolonged and robust deliberations in the legislature and with the approval of the

Governor, the impetus of which was the exoneration and release of at least twenty

inmates who had been sentenced to die in Illinois, the elected representatives of the

State of Illinois decided to eliminate the death penalty and substitute a penalty of life

without parole for previous capital-eligible offenses. See Warden, How and Why Illinois

Abolished the Death Penalty, 30 Law and Ineq. (Minnesota Journal of Law and Inequality),

245 (2012). Thus, the very heart of the State’s political processes is implicated here.

“Persons holding state elective [offices] . . . participate directly in the formulation,

execution, or review of broad public policy and perform functions that go to the heart of

representative government.” Sugarman v. Dougall, 413 U.S. 634, 647 (1973).7 The

Government’s attempt to unilaterally override the policy decisions reached by the



																																																								
7
 In striking down the Defense of Marriage Act (DOMA) in Sugarman, the Court punctuated the
importance accorded the State’s political processes when a conflict arises between state and
federal law involving fundamental rights that are the subject of intense public interest and
debate, terming those state processes the “beginning point in deciding” the constitutionality of
DOMA.

             After a statewide deliberative process that enabled its citizens to discuss and
             weigh arguments for and against same-sex marriage, New York acted to
             enlarge the definition of marriage to correct what its citizens and elected
             representatives perceived to be an injustice that they had not earlier known or
             understood.

Id. 2689. This description precisely mirrors the history of the abolition of the death
penalty in Illinois. See Warden, supra.


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State’s elected officials in regard to a crime which occurred entirely within the State of

Illinois inescapably raises sensitive questions of federalism and state-federal relations,

which a court must consider in interpreting the jurisdictional reach of a federal statute.

              (5)    The Court Should Interpret § 1201(a)(1) in a Manner to Avoid the
                     Constitutional Issues Raised by the Suggestion that a Federal Court
                     Can Acquire Jurisdiction Over an Interstate Kidnapping Simply
                     Because a Car Was Used in Commission of the Offense

       As discussed in Part V, infra, an interpretation of the phrase “instrumentalities of

interstate commerce” in § 1201(a)(1) to apply to intrastate kidnapping where a car or

other vehicle is used raises serious questions under the Commerce Clause. Such a

sweeping construction would surely federalize almost all kidnapping cases regardless

of their local character – for instance, an offender who seizes someone against their will

and drives them one block would be liable under this reading. And, more ominously

for federal-state relations, this approach has no logical limiting principle and would

permit the federal government to assume jurisdiction over a host of crimes that from

the beginning of the Republic have been considered as solely within the Police Power of

the States. The burglar who drives across town to break into a house can now be hauled

to the federal courthouse if the Congress were to so choose, as could the rapist who

drives his crime to the scene of the crime or the shoplifter who drives to the mall to steal

a t-shirt. And, if the Congress elects to award the government the jurisdiction it

envisions is conferred by Count One, the grandmother who runs a stop sign while

driving her “instrumentality of interstate commerce” on her weekly grocery run would

have to explain herself to the federal magistrate. Jurisdictional limitations previously



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carefully crafted by the Congress would no longer be necessary. See e.g. Title 18, U.S.

Code, Chapter 103 – Robbery and Burglary, §§ 2111- 2119 ( “special maritime and

territorial jurisdiction,” § 2111; personal property belonging to the United States, § 2112;

federally insured banks etc., § 2113; mail, money or other property of the United States,

§ 2114; burglary of a post office, § 2115; burglary of a railway or steamboat post office, §

2116; burglary of a carrier facilities containing interstate or foreign shipments of freight,

§ 2117; robberies and burglaries pertaining to substances required to be registered with

the DEA, § 2118; and the forcible taking of a car that has been transported, shipped or

received in interstate commerce, § 2119.).8 If Congress can award the federal courts

jurisdiction over an intrastate kidnapping simply because a car was used, it could

similarly do so in an unending number of other local crimes on the same theory and

effectively blue-pencil the constitutional dichotomy at the heart of our democracy.

             Where a theory of assumed federal jurisdiction has no logical limits, grave

constitutional issues are presented under the Commerce Clause, 10th Amendment and

federalism. See Lopez, 549 U.S. at 563-64 (“Under the theories that the Government

presents in support of [statute], it is difficult to perceive any limitation on federal

power, even in areas such as criminal law enforcement or education where States

historically have been sovereign.”). See cases cited at V-A, infra, referencing Commerce

Clause problems by potential floodgate problems created by overly broad

interpretations of federal jurisdiction.


																																																								
8This latter statute is a regulation against the forcible taking of a motor vehicle, not the use of
one in an intrastate crime.		


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       The Supreme Court has held that “[i]t is our settled policy to avoid an

interpretation of a federal statute that engenders constitutional issues if a reasonable

alternative interpretation poses no constitutional question.” Gomez v. United States, 490

U.S. 858, 864 (1989). “[I]f a case can be decided on either of two grounds, one involving

a constitutional question, the other a question of statutory construction or general law,

the Court will decide only the latter.” Ashwander v. Tennessee Valley Authority, 297 U.S.

288, 347 (Brandeis, J., concurring); Bond v. United States, supra (as a matter of statutory

construction Court holds federal statute inapplicable to defendant’s conduct, thereby

avoiding Tenth Amendment and federalism issues). See IV-D(8), infra. Interpreting §

1201 consistent with its historical antecedents avoids the serious constitutional issues

suggested by Count One.

              (6)    There is Negligible Authority Suggesting That a Car is a “Means,
                     Facility and Instrumentality” of Interstate Commerce Within the
                     Meaning of § 1201(a)(1)

       Lending further support to the defense’s argument is the meager case law

supporting the theory advanced in the Superseding Indictment. The Post-2006 cases

sustaining § 1201(a)(1) jurisdiction in intrastate kidnappings on the basis of the “means,

facility and instrumentality” language added by the 2006 Amendment have almost

uniformly involved the use of cellphones, the internet, GPS or Instant Messaging in the

commission of the kidnapping. See United States v. Morgan, 748 F.3d 1024, 1031-32 (10th

Cir. 2014)(use of cellphone, internet, and GPS in intrastate kidnapping); United States v.

Dais, 559 Fed.Appx. 438, 445 (6th Cir. 2014) (use of cellphone to demand ransom; United




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States v. Al-Din, 631 Fed.Appx. 313, 330 (6th Cir. 2015) (cellphone); United States v.

Ramos, 622 Fed.Appx. 29, 30 (2d Cir. 2015) (cellphone).9

             Counsel has not found a reported circuit case in the 11 years that have passed

since the 2006 Amendment directly holding that a car is an “instrumentality of

interstate commerce within the meaning of §1201(a)(1).10 The closest circuit case appears

to be United States v. Boykin, 794 F.3d 939 (8th Cir. 2015), which involved an intrastate

kidnapping whose purpose was a robbery. The Boykin indictment alleged the

defendants used various “instrumentalities of interstate commerce,” including

cellphones, multimedia messaging service (MMS), Short Message Service (SMS),

iMessage and an automobile, but the issue of whether the use of a car itself was

sufficient to establish jurisdiction under 1201(a)(1) was not raised.11

																																																								
9
 This opinion is a Summary Order, which has no precedential effect in the Second Circuit. Id., at
29.

10Counsel   has located two unreported district court cases containing language suggesting that a
motor vehicle is an “instrumentality of interstate commerce within the meaning of § 1201(a)(1).
In a Memorandum and Order in United States v. Mitchell, 2013 WL 5377869 (N.D. Texas 2013),
the Court denied a pretrial motion to dismiss that argued that the “instrumentality of interstate
commerce” language in § 1201(a)(1) was void for vagueness, a claim not made here. The facts of
the kidnapping are not set out in Mitchell, but in denying the motion, the court stated that the
“intrastate use of a telephone or automobile qualifies as a “means, facility or instrumentality of
interstate commerce” within the meaning § 1201(a)(1). Id., at *7. Similarly, in United States v.
Jenkins, 2017 WL 3431916 (E.D. Kentucky 2017), an apparent intrastate kidnapping involving
transportation of the victim in a personal truck, the court opined in dicta that a truck is an
instrumentality of interstate commerce although there is no indication in the Court’s opinion
that a jurisdictional issue was raised. Id., at *2. (The facts of the opinion indicate that a telephone
was also used to effectuate the kidnapping).

11The  only issue raised in reference to the kidnapping conviction in Boykin was whether the
indictment was fatally defective because it did not allege the victim was “held for ransom or
reward or otherwise.” The Court rejected this argument, holding that the defendant’s purpose
is not essential element of the offense. 794 F.3d at 947-48.



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       In sharp relief are the host of Circuit decisions since 2006 involving the use of

cars or other vehicles in § 1202(a) kidnappings. In light of the statute’s history and

consistent case law requiring the government to stay in its jurisdictional lanes in

kidnapping prosecutions, it is unsurprising that these cases without exception show

that the victim was transferred across state lines. This principle is illustrated by a survey

of kidnapping convictions in the Seventh and Eighth Circuits since 2007, involving the

use of cars, each of which has involved the transportation of the victim across state lines

See United States v. Eason, 854 F.3d 922 (7th Cir. 2017) (two victims transported by car to

Illinois, one from California and the second from Texas); United States v. Smith, 831 F.3d

793 (7th Cir. 2016)(victim driven from Wisconsin to Colorado); Webster v. Daniels, 784

F.3d 1123 (7th Cr. 2015) (transportation of victim by car from Texas to Arkansas); United

States v. Jenkins, 772 F.3d 1092 (7th Cir. 2014) (transported in truck from Illinois to

Missouri); United States v. Jonasson, 759 F.3d 653 (7th Cir. 2014) (victim driven from

Missouri to Indiana); United States v. Reynolds, 714 F.3d 1039 (7th Cir. 2013) (driven from

Indiana to Illinois); United States v. Sanders, 708 F.3d 976 (7th Cir. 2013) (victim driven

from Indiana to Illinois); United States v. Breshers, 684 F.3d 699 (7th Cir. 2012)

(movement of victim by car from Illinois to Missouri); United States v. Gooden, 564 F.3d

887 (7th Cir. 2009) (truck used to transport from Illinois to Missouri); United States v.

Diekhoff, 535 F.3d 611 (7th Cir. 2008) (victim driven by minivan from Illinois through

various states in Midwest); United States v. Singh, 483 F.3d 489 (7th Cir. 2007) (victim

driven from Wisconsin to New Jersey); United States v. Vizcarra, 668 F.3d 516 (7th Cir.

2012) (victim driven in van from Indiana to Illinois); United States v. Montgomery, 635


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F.3d 1074 (8th Cir. 2011) (transporting victim by car from Kansas to Missouri); United

States v. Douglas, 646 F.3d 1134 (8th Cir. 2011) (victim driven from Missouri to

Mississippi); United States v. Rodriguez, 581 F.3d 775 (8th Cir. 2009) (transported by car

from North Dakota to Minnesota); United States v. Eizember, 485 F.3d 400 (8th Cir. 2007)

(victim forced to drive defendant from Arkansas to Texas); United States v. Barraza, 576

F.3d 798 (8th Cir. 2009) (victim moved by car from Illinois to Missouri).

       While these post-2006 cases do not conclusively establish that the use of a vehicle

in an intrastate kidnapping is not contemplated by the 2006 Amendment, coupled with

lack of cases prosecuted on such a theory they demonstrate a general understanding

that a vehicle’s only jurisdictional significance in a § 1201(a) prosecution is when used

as a mode of interstate transportation in relation to the kidnapping. See Bond v. United

States, 134 U.S. at 2092 (lack of a history of prosecution under jurisdictional theory

advanced by the government suggests Congress did not intend statute’s to apply to

defendant’s conduct); cf. National Federation of Independent Business v. Sebellius, __ U.S.

__, 132 S.Ct. 2566, 2586 (2012)(“[S]ometimes ‘the most telling indication of [a] severe

constitutional problem . . . is the lack of historical precedent’ for Congress’s action.”),

quoting Free Enterprise Fund v. Public Company Accounting Oversight, 561 U.S. 477, 506

(2010) (internal quotation marks omitted)

              (7)    The Rule of Lenity Cautions Against the Federal Government’s
                     Jurisdiction Under the Facts of This Case

       The Rule of Lenity is a canon of statutory construction that requires courts to

resolve ambiguous statutes in favor of defendants. Albernaz v. United States, 450 U.S.



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333, 342 (1981); Yates v. United States 135 S.Ct. at 1088 (2014). The rule applies when

statutes are ambiguous as to their jurisdictional scope. Jones v. United States, 529 U.S.

848, 858-59 (2000) (rule “reinforces” conclusion that federal government does not have

jurisdiction over arson of owner-occupied residence); United States v. Errol D., Jr., 292

F.3d 1159, 1163 (9th Cir. 2002). “The plainness or ambiguity of statutory language is

determined [not only] by reference to the language itself, [but as well by] the specific

context in which that language is used, and the broader context of the statute as a

whole.” Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997). See generally Yates, 135 S.Ct. at

1081-83 (dictionary definition of term “bears consideration” in interpretation of statute

but is not dispositive).

       Here, like the statute at issue in United States v. Bond, infra, “the ambiguity [in §

1201(a)(1)] derives from the improbably broad reach of key statutory definition . . . the

deeply serious consequences of adopting such a boundless reading; and “the lack of any

apparent need to do so in light of the context from which the statute arose . . .” Bond,

134 U.S. at 2090. As discussed above, each of these concerns are starkly presented by an

interpretation that the “means, facilities and instrumentality” language in § 1201(a)(1)

includes commission of an intrastate kidnapping by means of a car.

              (8) United States v. Bond

       As just noted, the issue here is similar in many respects to that in Bond v. United

States, __ U.S. __, 134 S.Ct. 2077 (2014), a case that arose when Carol Bond spread toxic

chemicals on the car, mailbox and door knob of a romantic rival. The government

attempted to prosecute Ms. Bond under 18 U.S.C. § 229(a)(1), which prohibits the


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knowing use of “chemical weapons” and was passed pursuant to the United States’

duties to implement its obligations as a signatory to the International Convention on the

Use of Chemical Weapons. The issue presented was whether § 229, legislated by the

Congress for an entirely different purpose, nonetheless reached the purely local crime

committed by Ms. Bond in these circumstances. The Court held it did not.

Ms. Bond argued that, in violation of the Tenth Amendment, application of § 229

impermissibly intruded on the authority of the Commonwealth of Pennsylvania

(Pennsylvania) to punish local crimes under the Police Power reserved to the States. See

infra. Applying the rule of constitutional avoidance, the Court held that it need not

reach that issue, as there was insufficient evidence that Congress intended §229 to apply

to the conduct of Ms. Bond. See IV-D(5), supra. The Court rejected the government’s

argument that the chemicals that Ms. Bond placed in the victim’s home and on her car

were “toxic chemicals” within the meaning of the statute, noting that “the problem with

this interpretation is that it would ‘dramatically intrude[ ] upon traditional state

criminal jurisdictions,’ and we avoid reading statutes to have such reach in the absence

of a clear indication that they do.” Bond, 134 S.Ct. at 2088, citing United States v. Bass, 404

U.S. 336, 350 (1951). Bond went on to note that before finding that a “federal law

overrides the usual constitutional balance between the federal and state powers,” a

court should be “certain of Congress’ intent.” Bond, 134 S.Ct. at 2089, citing Gregory v.

Ashcroft. 501 U.S. 452, 460 (1991).




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              “If the Federal Government would ‘radically readjust[ ] the
              balance of state and national authority, those charged with
              the duty of legislating [must be] reasonably explicit’ about
              it.”

Bond, 134 S.Ct. at 2089, quoting BFP v. Resolution Trust Corporation, 511 U.S. 531, 544

(1994) (internal citation omitted).

       Citing the Court’s holding in United States v. Jones, supra, that jurisdiction under

federal statutes must be read narrowly to avoid overreaching, Bond observed that

application of § 229 “would ‘alter sensitive state-federal relationships,’ convert an

astonishingly amount of ‘traditional local criminal conduct’ into ‘matters for federal

enforcement’ [and] transform the statute[‘s] . . . core concerns.” Id. at 2090. The Court

also reminded that the government that the laws of the State of Pennsylvania and those

of every other state were sufficient to prosecute Ms. Bond for her conduct, id. at 2092,

and that “in its zeal” to prosecute her, the government has “displaced the public policy”

of the Commonwealth. Id. 2093. Finally, interpreting the reach of § 229 in light of

Congress’s “traditional reluctance to define as a federal crime conduct readily

denounced as criminal by the States,” United States v. Bass, 404 U.S. 336, 349 (1971), and

“[a]bsent a clear statement of that purpose,” the Court refused to “presume Congress to

have authorized such a stark intrusion into traditional state authority.” Bond, 134 S.Ct.

at 2093-94.

       These very considerations apply here. First, like, the interpretation of § 229 urged

by the government in Bond, that suggested by Count One would “convert an

astonishingly amount of “traditional local criminal conduct” into federal crime. The



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overwhelming number of kidnappings, if not all, are accomplished by means of a car or

vehicle of some type. Every local seizure or movement of a victim in a car against their

will would be converted into a federal crime. And, as noted above, federal jurisdiction

premised on such an interpretation would authorize the federal government to take

jurisdiction over a host of crimes that have always been regarded as local crimes within

the exclusive purview of the State’s Police Power. See IV-D(6), supra.

       Second, the “core concerns” of § 213 of the Adam Walsh Act (like those of § 229,

which were unrelated to Ms. Bond’s crime) were directed at the perceived problem of

the exploitation of children by the use of the internet and related tools of

communications, many of which had only arisen in recent years, and had nothing to do

with a general expansion of long-established jurisdictional rules in kidnapping cases.

       Third, as the cases cited in the IV-D(6) demonstrate, like the lack of prior case law

applying § 229 to facts similar to those in Ms. Bond’s case, here there is only minimal

and non-precedential authority suggesting § 1201(a)(1) applies to an intrastate

kidnapping.

       Fourth, like those of Pennsylvania, the laws of Illinois (and every other state) are

sufficient to prosecute Mr. Christensen and punish him severely if found guilty of the

conduct charged in the Superseding Indictment. See ILCS 5/10-2: Aggravated

Kidnapping (inflicting great bodily harm during kidnapping other than by discharge of

firearm or committing another felony on victim: in addition to kidnapping sentence,

mandatory additional 15 years for aggravated); 720 ILCS 5/9-1: First Degree Murder




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defined and 730 ILCS 5/5-4.5-20, Sentencing for 1st Degree Murder (up to term of

natural life imprisonment).12

             Fifth, like its attempt to “displace the policy” of the Commonwealth of

Pennsylvania, the government’s attempt to prosecute Mr. Christensen for the use of a

car in an intrastate kidnapping under § 1201(a) is seemingly a transparent attempt to

seek the death penalty in a state whose public policy (like that of much of the world)

rejects this form of punishment. See IV-D(4), supra.

             The issues and concerns presented to this Court here are almost identical to those

addressed by the Supreme Court in Bond and the reasoning of that case directly controls

disposition of this motion.

             In conclusion, the history of the federal crime of kidnapping as defined in §

1202(a), case law interpreting its limited jurisdictional reach, the purpose of the

Amendments of 2006, principles of statutory construction and federalism, the lack of

authority interpreting § 1201(a)(1) in the manner suggested by Count 1 and Supreme

Court precedents applying these principles, all caution that this Court should apply the

rule of constitutional avoidance and hold that Congress did not intend that § 213 of the

Adam Walsh Act would turn established kidnapping law on its head and authorize a

federal court to take jurisdiction over an intrastate kidnaping solely because a car was

used.




																																																								
12
 Felony-murder is also punished as first degree murder under Illinois law. See People v. Hudson,
856 N.E. 2d 1078 (Ill. 2006).


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       Otherwise, the Court must address the constitutionality of § 1202(a)(1) under the

facts of this case.

V.     INTERPRETING THE 2006 AMENDMENT AS INCLUDING THE USE OF A
       VEHICLE IN AN INTRASTATE KIDNAPPING VIOLATES THE
       COMMERCE CLAUSE

       Mr. Christensen does not bring a facial challenge to the constitutionality of §

1202(a)(1). Rather, he contends that the “instrumentality of interstate commerce”

language added by Amendment of 2006 is unconstitutional as applied to his case. See

Village of Hoffman Estates v. Flipside, Hoffman Estates, 455 U.S. 489, 493 (10982) (facial

challenges are rarely successful as statute must be unconstitutional in all cases; “as

applied” challenges are based on statute as applied to facts of case).

       A.      Congress’s Power to Legislature Under the Commerce Clause is Not
               Unlimited and is Circumscribed by the States’ Police Power

       “The Constitution [] creates a national government with defined and enumerated

powers.” United States v. Lopez, 514 U.S. at 552 (1995). “[R]ather than granting general

authority to perform all the conceivable functions of government, the Constitution lists,

or enumerates, the Federal Government's powers.” National Federal of Independent

Bunsiness v. Sebelius, 132 S.Ct. 2566, 2577 (2012). “The powers delegated by the proposed

Constitution to the federal government are few and defined. Those which are to remain

in the State governments are numerous and indefinite.” The Federalist No. 45, pp. 292–

293, quoted in Lopez, 514 U.S. at 552 (1995).

       Among the enumerated powers not delegated to the federal government in

Article One, Section 8 of the Constitution is the Police Power. From the earliest days of



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the republic, it was accepted that the Police Power was assigned to the states under the

Tenth Amendment. See Cohens v. Virginia, 6 Wheat. 264, 426, 428 (1821)(Marshall, C.J.)

(Congress has no power to punish murder within the States or felonies generally). That

principle persists through modern constitutional interpretation. United States v. Lopez,

514 U.S. at 566 (“The Constitution withholds from Congress a plenary police power.”).

Chief Justice Robert recently emphasized this fundamental maxim of constitutional

adjudication:

                “I write separately to stress not only that a federal police
                power is immaterial to the result in this case, but also that
                such a power could not be material to the result in this case—
                because it does not exist. (Citation omitted) . . . Our
                resistance to congressional assertions of such a power has
                deep roots.”

See United States v. Kebodeaux, __ U.S. __, 133 S.Ct. 2496, 2507 (2013) (Roberts, C.J.,

concurring in judgment).

       As noted above, the Constitution confers primary responsibility for

implementing criminal sanctions upon the States. Brecht v. Abrahamson, supra. These

principles apply with particular force to violent crimes. United States v. Morrison, 529

U.S. at 618 (“The regulation and punishment of intrastate violence that is not directed at

the instrumentalities, channel, or goods involved in interstate commerce has always

been the province of the States.”).

       The Federal Kidnapping Act itself was premised on a particularized need for

federal jurisdiction in limited circumstances (when a victim is transported across state

lines) and passed pursuant to Congress’ powers under the Commerce Clause. See IV-A,



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supra. But, however broad as a general matter, Congress’s power under the Commerce

Clause has “judicially enforceable outer limits.” United States v. Lopez, 514 U.S. at 566

(“[E]ven under our modern, expansive interpretation of the Commerce Clause,

Congress’ regulatory authority is not without effective bounds.”); United States v.

Morrison, 529 U.S. at 608; National Federation of Independent Business v. Sebellius, 135 S.Ct.

at 2579 (While deference is accorded, “our respect for Congress’s policy judgment thus

can never extend so far as to disavow restraints on federal power that the Constitutional

carefully constructed.”). The scope of the Commerce Clause power “is necessarily one

of degree.” Lopez, 514 U.S. at 555, quoting Jones & Laughlin Steel, 301 U.S. 1, 37 (1937).

             The two leadings modern cases directly holding that Congress exceeded its

powers under the Commerce Clause are Lopez and Morrison.13 Lopez held that the Gun-

Free Zones Act of 1990, which banned possession of handguns near schools, was

unconstitutional because it did not involve economic conduct, did not have a defined

jurisdictional element that permitted an assessment of interstate activity on a case-by-

case basis and did not have a substantial impact on interstate commerce. Morrison

struck down the Violence Against Women Act of 1994, which provided a federal civil

remedy for gender-motivated violence, because it did not regulate economic concerns of

interstate commerce and was primarily a regulation against violent crimes and thus

invaded the province of the States. Cf. United States v. Kebodeaux, 133 S.Ct. at 2507 (2013)



																																																								
13
 While upholding the Act on other grounds, National Federation of Independent Business v.
Sebellius, 567 U.S. 519, 547-558 (2012) also held that certain provisions of the Affordable Care Act
exceeded Congress’ power to legislate under the Commerce Power.


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(The Constitution does not give “Congress a freestanding, independent, and perpetual

interest in protecting the public from the convict’s purely intrastate conduct.”) (Roberts,

C.J., concurring in judgment).

       The striking down of the respective Acts in Lopez, and Morrison reflect limitations

imposed on Commerce Clause jurisdiction and illustrate the Constitution’s rejection of a

general federal police power. In other cases, the Supreme Court has read statutes

narrowly to avoid Commerce Clause problems that would be created by a contrary

interpretation. See Jones v. United States, supra (owner-occupied residence not used for

any commercial purpose does not qualify as “property used in interstate or foreign

commerce or in any activity affecting interstate or foreign commerce” within meaning

of the federal arson statute, and arson of such a dwelling is not subject to federal

prosecution under the statute); Bond v. United States, supra (statute imposing criminal

penalties for using chemical weapons did not reach defendant’s conduct); Solid Waste

Agency of Northern Cook County v. U.S. Army Corp of Engineers, 531 U.S. 159 (2001) (Army

Corps of Engineers' rule extending definition of “navigable waters” under Clean Water

Act to include intrastate waters used as habitat by migratory birds which cross state

lines raised a significant constitutional question whether Congress had power to

regulate such waters under the Commerce Clause and thus not entitled to Chevron

deference.).

       In all these cases, whether directly holding the legislation at issue violated the

Commerce Clause or interpreting terms so as to avoid Commerce Clause issues, the

Court has been “conscious of the danger . . . to obliterate the distinction between what is


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national and what is local,” posed by overly expansive interpretations of Commerce

Clause jurisdiction, Gonzales v. Raich, 545 U.S. at 35-36 (Scalia, J., concurring), and of

inappropriately opening the floodgates of federal jurisdiction. Bond, 134 S.Ct. at 2090

(would convert an astonishingly amount of ‘traditional local criminal conduct’ into

federal crimes); Lopez, 514 U.S. at 564 (“[I]f we were to accept the Government’s

arguments, we are hard pressed to posit any activity by an individual that Congress is

without power to regulate.”); Solid Waste Agency of Northern Cook County, 531 U.S. at 174

(“Permitting respondents to claim federal jurisdiction over ponds and mudflats falling

within the “Migratory Bird Rule” would result in a significant impingement of the

States' traditional and primary power over land and water use.”); Jones, 529 U.S. at 859

(“[statute] is not soundly read to make virtually every arson in the country a federal

offense.”).

       B.     Application of These Principles

       In Lopez, the Court held that Congress may regulate three broad areas of

activities under the Commerce Clause: (1) the use of the channels of interstate

commerce; (2) the instrumentalities of interstate commerce; and (3) those activities that

have a “substantial relation to interstate commerce.” 514 U.S. at 558-59 (1995). As to the

first category, the “use of the channels of interstate commerce” language in § 213 of the

Adam Walsh Act was not a regulation of a channel of interstate commerce, which

permits Congress to regulate persons or things that travel or are transported through




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interstate commerce.14 For instance, the Darby case cited in Lopez as an example of this

category upheld Congress’ power to prohibit the shipment of lumber in interstate

commerce that had been manufactured in a manner that did not comply with the Fair

Labor Standards Act. United States v. Darby, 312 U.S. 100 (1940).15 Despite use of the

term, § 213 is also not a regulation of the instrumentalities of interstate commerce in the

sense used in the second Lopez category, such as the railroad rate cases and statutes

prohibiting destruction of aircraft or theft from interstate commerce that Lopez cites.

Rather, the constitutionality of § 213 must be analyzed under the third category, as it is

a regulation of an activity – kidnapping by use of an “instrumentality of commerce.” See

generally National Federation of Independent Business, 132 S.Ct. at 2587.

             Mr. Christensen concedes that the commerce power can extend to intrastate

activity, where such activity “substantially affects” interstate commerce, and that the de

minimis effect on interstate commerce of his own activity is not controlling. Lopez, at 558-

59; United States v. Taylor, 136 S.Ct. 2074, 2079-80 (2016). But, where the regulated

activity is not commercial in nature, there still must be a showing that the activity “in

the aggregate substantially affects interstate commerce,” Lopez at 561-62, a requirement

that is more imperative when the statute itself “contains no jurisdictional element which


																																																								
14The  part of the 2006 Amendment adding the jurisdiction over offenders who travel in
interstate commerce is an example of jurisdiction under this category and is not challenged
here.
	
15
  Similarly, Heart of Atlanta Motel, Inc. v. United States, 379 U.S. 241 (1964), the second case cited
by Lopez as an example of this category, upholding Title II of the Civil Rights Act of 1964, as
prohibiting a motel from denying access to African-Americans, was a regulation of persons
traveling in interstate commerce.


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would ensure, through case-by-case inquiry, that [the activity] affects interstate

commerce.” Id. Even employing a macro analysis of the use of cars or other vehicles in

intrastate kidnappings where, as here, no ransom or reward or other economic benefit is

demanded, it is difficult to unearth a substantial effect on interstate commerce. The

argument that violent crime, standing alone, affects the national economy sufficient to

invoke Congress’ commerce power was directly rejected in Lopez for the reasons

previously stressed here:

       We pause to consider the implications of the Government's arguments. The

Government admits, under its “costs of crime” reasoning, that Congress could regulate

not only all violent crime, but all activities that might lead to violent crime, regardless of

how tenuously they relate to interstate commerce. See Tr. of Oral Arg. 8–9. Similarly,

under the Government's “national productivity” reasoning, Congress could regulate

any activity that it found was related to the economic productivity of individual

citizens: family law (including marriage, divorce, and child custody), for example.

       Under the theories that the Government presents in support of § 922(q), it is

difficult to perceive any limitation on federal power, even in areas such as criminal law

enforcement or education where States historically have been sovereign. Thus, if we

were to accept the Government's arguments, we are hard pressed to posit any activity

by an individual that Congress is without power to regulate. Lopez, 514 U.S. at 564.

Thus, while jurisdiction under this third Lopez category is broad, “thus far in our

Nation’s history our cases have upheld Commerce Clause regulation of intrastate

activity only when that activity is economic in nature.” United States v. Taylor, 136 S.Ct.


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at 2079-80 (citation omitted); Morrison, 529 U.S. at 617 (“We [] reject the argument that

Congress may regulate noneconomic, violent criminal conduct based solely on that

conduct’s aggregate effect on interstate commerce.”).

       No matter how abhorrent and offensive, intrastate kidnappings in the

circumstances presented here have no economic consequences within the meaning of

Article 1, § 8, cl. 3 of the U.S. Constitution and thus cannot be punished by the national

government. But, as the statutes of Illinois cited above show, that does not cripple our

legal system’s ability to prosecute and severely punish offenders who participate in

such crimes, including, in appropriate circumstances, incarcerating them for the rest of

their natural lives.

       For the reasons stated herein, Mr. Christensen requests that the Court enter an

Order dismissing Count One.

                                   Respectfully submitted,

                                   BRENDT A. CHRISTENSEN, Defendant

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                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller. A copy

was also mailed to the defendant.

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